        Case
         Case2:17-cv-00604-RFB-BNW
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11
                      IN THE UNITED STATES DISTRICT COURT FOR THE
12                                DISTRICT OF NEVADA

13   CAPITAL ONE, NATIONAL                     )
     ASSOCIATION, a national banking           )
14   association,                              )
                                               )        Case No. 2:17-cv-00604-RFB-BW
15                 Plaintiff,                  )        consolidated with
                                               )        Case No. 2:17-cv-00916-KJD-BW
16              v.                             )
                                               )        [PROPOSED] UPDATED
17   SFR INVESTMENTS POOL 1, LLC, a            )        DISCOVERY PLAN AND
     Nevada limited liability company; and     )        SCHEDULING ORDER
18   ANTHEM COUNTRY CLUB COMMUNITY, )
     ASSOCIATION, a Nevada nonprofit           )
19   corporation,                              )
                                               )
20              Defendants.                    )
     _______________________________________ )
21                                             )
     SFR INVESTMENTS POOL 1, LLC, a            )
22   Nevada limited liability company,         )
                                               )
23              Counterclaimant/Crossclaimant, )
                                               )
24              v.                             )

25                                                1
         Case
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 1   CAPITAL ONE, NATIONAL                          )
     ASSOCIATION, a national banking                )
 2   Association; LEON BENZER, an individual;       )
     UNITED STATES OF AMERICA                       )
 3                                                  )
                 Cross-Defendants,                  )
 4   C           Counter-Defendants.                )
                                                    )
 5   _______________________________________        )
                                                    )
 6   UNITED STATES OF AMERICA,                      )
                                                    )
 7             Plaintiff,                           )
                                                    )
 8             v.                                   )
                                                    )
 9   LEON BENZER;                                   )
     SFR INVESTMENTS POOL 1, LLC;                   )
10   CAPITAL ONE, N.A.; ROCKTOP                     )
     PARTNERS, LLC; WILMINGTON SAVINGS              )
11   FUND SOCIETY, FSB, AS TRUSTEE OF               )
     STANWICH MORTGAGE LOAN TRUST A;                )
12   ANTHEM COUNTRY CLUB                            )
     COMMUNITY ASSOCIATION; and                     )
13   REPUBLIC SILVER STATE DISPOSAL INC.,           )
                                                    )
14            Defendants.                           )
     _______________________________________        )
15                                                  )
     CAPITAL ONE, NATIONAL ASSOCIATION              )
16   a national banking association,                )
                                                    )
17       Counter-Claimant/Cross-Claimant,           )
                                                    )
18             v.                                   )
                                                    )
19   UNITED STATES OF AMERICA;                      )
     LEON BENZER, an individual;                    )
20   SFR INVESTMENTS POOL 1, LLC,                   )
     a Nevada limited liability company; and        )
21   ANTHEM COUNTRY CLUB                            )
     ASSOCIATION, a Nevada corporation,             )
22                                                  )
        Counter-Defendant/Cross-Defendants.         )
23   _______________________________________        )

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25                                              2
            Case
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 1             In light of the Court’s Order of December 21, 2020 (ECF No. 377 (minutes of hearing)),

 2   the discovery plan and scheduling order (ECF No. 144), as subsequently extended, are updated

 3   as follows:

 4                    Discovery Cutoff Date: March 26, 2021;

 5                    Dispositive Motion Deadline: April 26, 20211; and

 6                    Joint Pretrial Order Deadline: May 26, 2021. However, pursuant to LR 26-

 7                     1(b)(5), if the parties were to file dispositive motions the joint pretrial order would

 8                     be due within 30 days after the last decision on any dispositive motions.

 9                    All other deadlines shall remain closed, except to the extent a party moves for

10                     reopening and the Court approves.

11             Objections to discovery must be made on an expedited basis, as discussed in open court

12   at the hearing on December 21, 2020.

13

14                                                            IT IS SO ORDERED

15

16                                                            ______________________

17                                                            UNITED STATES MAGISTRATE JUDGE

18

19                                                                  January 11,
                                                              DATED _______, 20212021

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23

24
     1
         Thirty days from the close of discovery would fall on Sunday, April 25, 2021.
25
                                                         1
